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6    1300 SW Fifth Avenue, Suite 2400
     Portland, OR 97201
7    Tel: (503) 241-2300
     Email: nicholaskampars@dwt.com
8
     Of Attorneys for Plaintiffs
9

10
                                IN THE UNITED STATES BANKRUPTCY COURT
11
                                        FOR THE DISTRICT OF OREGON
12
     In Re:
13
     CHRISTOPHER P. SPOTO                               Case No. 17-31502-tmb7
14
                                        Debtor.
15
     JENNIFER ANDLOVEC, an individual;
16   SHAMUS RYAN, an individual; HIROMI                 Adversary Case No.
     HEIDER, an individual; JULIA RAE
17   SANDERSON, an individual; GARY and
     NANCY LAZARUS, Trustees of the Edwards             COMPLAINT OBJECTING TO
18   Lazarus Family Trust Dated 1994; KILEY             DISCHARGEABILITY OF A DEBT
     LAZARUS and NATHAN LAZARUS,
19   husband and wife and the marital community
     thereof; PHILIP JONES, an individual;
20   RICHARD BROWN DEWITT, an individual;
     HAROLD WAYNE ROBINSON, an
21   individual; and JEFFERY CALLAHAN, an
     individual,
22
                                        Plaintiffs,
23
              v.
24
     CHRISTOPHER SPOTO, an individual,
25
                                        Defendant.
26

     Page 1 – COMPLAINT OBJECTING TO DISCHARGEABILITY OF A DEBT

     4845-7238-9452v.4 0108718-000001



                                   Case 17-03097-tmb   Doc 1   Filed 08/11/17
1             Plaintiffs allege:
2             1.        This is an adversary proceeding under 11 U.S.C. § 523(c) for a determination
3    excepting certain debts of Defendant Chris Spoto from discharge.
4             2.        This Court has jurisdiction of this action under 28 U.S.C. § 1334, and this
5    adversary proceeding constitutes a core proceeding.
6             3.        Venue lies in the District of Oregon as this is a proceeding arising under
7    Chapter 7 of the Bankruptcy Code, and the petition was filed in the District of Oregon.
8                                                   PARTIES
9             4.        Plaintiffs are members of Farmington Industries, LLC (the “Company”), an
10   Oregon limited liability company. Collectively, Plaintiffs are the owners of 60% of the
11   membership interests in the Company.
12            5.        Defendant is the owner of 40% of the membership interests in the Company.
13                                                    FACTS
14            6.        In January 2015, Defendant and plaintiff Jeffery Callahan decided to form a
15   business that would participate in the Oregon cannabis industry. They agreed to use the name
16   “Farmington Industries, LLC,” which Defendant had previously registered with the state of
17   Oregon (the “Company”).
18            7.        Defendant and Callahan agreed that they would each share a 50% ownership in
19   the Company.
20            8.        On or about June 1, 2015, the Company signed a 5-year commercial lease (the
21   “Lease”), the premises of which was to serve as the Company’s cannabis production facility.
22   Defendant personally guaranteed the Lease on behalf of the Company.
23            9.        Pursuant to the Lease, the Company paid a $15,000 security deposit and began
24   paying the $5,500 monthly rent.
25            10.       Beginning in June 2015, the Company made significant improvements to the
26   leased premises, in an amount believed to be not less than $250,000.

     Page 2 – COMPLAINT OBJECTING TO DISCHARGEABILITY OF A DEBT

     4845-7238-9452v.4 0108718-000001



                                   Case 17-03097-tmb      Doc 1    Filed 08/11/17
1             11.       On April 29, 2016, the Company entered into an operating agreement. The
2    Operating Agreement listed two trusts as formal members, which trusts would in turn hold the
3    membership interests of Plaintiffs and Defendant.
4             12.       Pursuant to Section 5.2 of the Company’s operating agreement, Defendant was
5    the sole manager of the Company.
6             13.       Pursuant to Section 5.10 of the Company’s operating agreement and Oregon law,
7    at all relevant times Defendant owed the Company and the Plaintiffs the fiduciary duties of care
8    and loyalty.
9             14.       As manager of the Company, Defendant solicited money for the Company from
10   investors, including Plaintiffs, and obtained new capital from Plaintiffs.
11            15.       Plaintiffs contributed a total of $266,000 to the Company in exchange for a 60%
12   interest in the Company.
13            16.       In December 2016, the Company needed another capital infusion. Defendant
14   rejected the proposal put forth by the Plaintiff members and instead insisted that an individual
15   named Kevin Kahmann, who on information and belief was the employer of Defendant’s wife,
16   be allowed to personally invest in the Company and obtain new investors to raise additional
17   capital for the Company (the “Kahmann Offer”). Defendant advocated for the Kahmann Offer
18   over any other option for the Company to obtain capital.
19            17.       Despite the two proposals that would have allowed the Company to viably
20   continue its business operations, Defendant failed to pursue either option and otherwise failed to
21   give Plaintiffs the opportunity to increase their investment in the Company.
22            18.       On February 1, 2017, Defendant executed a Lease Termination Agreement, after
23   representing to the landlord that the Company was insolvent and could no longer pay rent for the
24   leased premises. Defendant requested the return of the security deposit paid by the Company to
25   Defendant personally.
26   ///

     Page 3 – COMPLAINT OBJECTING TO DISCHARGEABILITY OF A DEBT

     4845-7238-9452v.4 0108718-000001



                                   Case 17-03097-tmb     Doc 1    Filed 08/11/17
1             19.       On or about February 14, 2017, Defendant sent a Notice of Meeting of the
2    Members of Farmington Industries, LLC, for a meeting to occur on February 24, 2017. During
3    the meeting, Defendant employed technology that prevented the other members from
4    participating in the meeting.
5             20.       During the meeting, Defendant represented to the members that he owned 80% of
6    the Company, and based on that misrepresentation, he voted to dissolve the Company over the
7    objections of Plaintiffs.
8             21.       On March 14, 2017, Plaintiffs initiated a lawsuit in the Circuit Court for the State
9    of Oregon, for the County of Deschutes, against Defendant and others. The lawsuit was
10   captioned Andlovec, et al. v. Spoto, et al., Case No. 17 CV11011 (the “Lawsuit”). A copy of the
11   Lawsuit is attached to this Complaint as Exhibit 1. The court later granted plaintiff Callahan’s
12   motion to intervene and entered an order to that effect.
13            22.       In the Lawsuit, Plaintiffs alleged that Defendant breached his fiduciary duties to
14   the Company and to Plaintiffs by advocating for the Kahmann Offer, by rejecting all other offers
15   to raise capital, by terminating the Lease and requesting a return of the security deposit to
16   Defendant personally, and by dissolving the Company over the objections of the members.
17            23.       In the Lawsuit, Plaintiffs asserted claims for breach of fiduciary duty, declaratory
18   judgment, fraudulent misrepresentation and expulsion from the Company based on Defendant’s
19   conduct, and sought damages.
20            24.       On April 24, 2017, Defendant filed a Chapter 7 Petition in this Court, seeking to
21   discharge his debts, including those associated with Plaintiffs’ Claims in the Lawsuit.
22                                        FIRST CLAIM FOR RELIEF
23                              (Non-Dischargeability Under 11 U.S.C. §523(a)(4))
24            25.       Plaintiffs re-allege and incorporate paragraphs 1 through 24 above.
25            26.       As manager of the Company, Defendant occupied a fiduciary relationship with
26   respect to the Company and Plaintiffs.

     Page 4 – COMPLAINT OBJECTING TO DISCHARGEABILITY OF A DEBT

     4845-7238-9452v.4 0108718-000001



                                   Case 17-03097-tmb      Doc 1     Filed 08/11/17
1             27.       Plaintiffs’ claims against Defendant arise out of his fiduciary relationship and the
2    fraudulent actives Defendant engaged in while he owed a fiduciary duty to the Company and
3    Plaintiffs.
4             28.       Plaintiffs are unsecured creditors with respect to the claims in the Lawsuit and the
5    alleged damages owed by Defendant.
6             29.       Plaintiffs seek a ruling declaring that the claims pled herein and in the Lawsuit
7    against Defendant are not subject to discharge in bankruptcy pursuant to 11 U.S.C. § 523(a)(4),
8    because Defendant engaged in fraud and defalcation while acting as a fiduciary to Plaintiffs.
9                                       SECOND CLAIM FOR RELIEF
10                              (Non-Dischargeability Under 11 U.S.C. §523(a)(6))
11            30.       Plaintiffs re-allege and incorporate paragraphs 1 through 24 above.
12            31.       Plaintiffs’ claims against Defendant seek damages based on Defendant’s
13   management of the Company, and his willful and malicious injury to the Company.
14            32.       Plaintiffs are unsecured creditors with respect to the claims in the Lawsuit and the
15   alleged damages owed by Defendant.
16            33.       Plaintiffs seek a ruling declaring that the claims pled herein and in the Lawsuit
17   against Defendant are not subject to discharge in bankruptcy pursuant to 11 U.S.C. § 523(a)(6),
18   because Defendant’s violations as alleged were willful and malicious.
19                                       THIRD CLAIM FOR RELIEF
20                           (Non-Dischargeability Under 11 U.S.C. §523(a)(19)(A))
21            34.       Plaintiffs re-allege and incorporate paragraphs 1 through 24 above.
22            35.       As manager of the Company, Defendant occupied a fiduciary relationship with
23   respect to the Company and Plaintiffs.
24            36.       Defendant made misrepresentations to Plaintiffs with respect to the Plaintiffs’
25   investments in the Company.
26   ///

     Page 5 – COMPLAINT OBJECTING TO DISCHARGEABILITY OF A DEBT

     4845-7238-9452v.4 0108718-000001



                                   Case 17-03097-tmb      Doc 1     Filed 08/11/17
1             37.       Plaintiffs seek a ruling declaring that the claims pled herein against Defendant are
2    not subject to discharge in bankruptcy pursuant to 11 U.S.C. § 523(a)(19)(A), because Defendant
3    made misrepresentations to Plaintiffs which were designed to deprive Plaintiffs of their
4    investment interests in the Company.
5             WHEREFORE, Plaintiffs pray for a judgment against the Defendant, as follows:
6             1.        That the Court determine that the Plaintiffs’ claims for breach of fiduciary duty,
7    declaratory judgment, fraudulent misrepresentation and expulsion, and the claims pled herein,
8    are excepted from discharge under 11 U.S.C. § 523(c); and
9             2.        For such other relief as the Court deems just and equitable under the
10   circumstances.
11            DATED this 11th day of August, 2017.
12                                             EMERGE LAW GROUP
13
                                               By s/ Matthew A. Goldberg
14                                                Matthew A. Goldberg, OSB #052655
                                                  Of Attorneys for Plaintiffs Jennifer Andlovec; Shamus
15                                                Ryan; Hiromi Heider; Julia Rae Sanderson; Gary and
                                                  Nancy Lazarus, Trustees of the Edwards Lazarus
16                                                Family Trust Dated 1994; Kiley Lazarus and Nathan
                                                  Lazarus; Philip Jones; Richard Brown Dewitt; and
17                                                Harold Wayne Robinson
18
                                               DAVIS WRIGHT TREMAINE LLP
19

20                                             By /s/ Wendell Kusnerus
                                                  Nicholas A. Kampars, OSB #063870
21                                                Wendell Kusnerus, OSB #792922
                                                  Of Attorneys for Plaintiff Jeffery Callahan
22

23

24

25

26

     Page 6 – COMPLAINT OBJECTING TO DISCHARGEABILITY OF A DEBT

     4845-7238-9452v.4 0108718-000001



                                   Case 17-03097-tmb      Doc 1     Filed 08/11/17
                                         CERTIFICATE OF SERVICE
1
            I hereby certify that I served a copy of the attached COMPLAINT OBJECTING TO
2
     DISCHARGEABILITY OF A DEBT on the following via the Electronic Court Filing System of
3    the U.S. Bankruptcy Court for the District of Oregon:

4             •    ALLISON C. BIZZANO - allison@emergelawgroup.com,
                   matt@emergelawgroup.com; jennifer@emergelawgroup.com
5             •    Michael B Batlan - mbatlan@aol.com, mbatlan@ecf.epiqsystems.com
              •    ANDREW B HARRIS - bendlawyer@yahoo.com, ah@andrewharrislaw.com,
6
                   ecfbankruptcybend@gmail.com
7             •    SCOTT J MITCHELL - scott@monsonlawoffice.com
              •    NATHAN FREDERICK JONES SMITH - nathan@mclaw.org,
8                  OR_ECF@mclaw.org
              •    US Trustee, Portland - USTPRegion18.PL.ECF@usdoj.gov
9
            As of today’s date, the following parties or attorneys are not on the e-service list for this
10   case and were served by first class U.S. mail:
11
              Oregon Community Credit Union
12            PO Box 77002
              Springfield, OR 97475-0146
13

14                      Dated this 11th day of August, 2017.
15

16                                           DAVIS WRIGHT TREMAINE LLP
17

18                                           By    /s/ Wendell Kusnerus
                                                  Wendell Kusnerus – State Bar Number 792922
19                                                Attorney for Plaintiff Jeffery Callahan
20

21

22

23

24

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     Page 1 – CERTIFICATE OF SERVICE

     4845-7238-9452v.4 0108718-000001



                                   Case 17-03097-tmb    Doc 1    Filed 08/11/17
                                          3/14/2017 4:05:51 PM
                                               17CV11011




 1

 2

 3

 4

 5                  IN THE CIRCUIT COURT OF THE STATE OF OREGON
 6                              FOR THE COUNTY OF DESCHUTES
 7 JENNIFER ANDLOVEC, an individual;                    Case No.
   SHAMUS RYAN, an individual; HIROMI
 8                                                      COMPLAINT
   HEIDER, an individual; JULIA RAE
 9 SANDERSON, an individual; GARY and                   (Breach of Fiduciary Duty; Breach of
   NANCY LAZARUS, Trustees of the Edwards               Contract; ORS 28.010 et seq.
10 Lazarus Family Trust Dated 1994; KILEY               Declaratory Judgments Act Avoidance
   LAZARUS and NATHAN LAZARUS, husband                  of Fraudulent Transfer Under ORS Ch.
11 and wife and the marital community thereof;          95; ORS 63.209 – Expulsion;
   PHILIP JONES, an individual; RICHARD                 Injunctive Relief; Aiding and Abetting
12                                                      Breach of Fiduciary Duty; Fraudulent
   BROWN DEWITT, an individual; and
                                                        Misrepresentation)
13 HAROLD WAYNE ROBINSON, an individual,

14                Plaintiffs,                           Filing Fee Authority:
                                                        ORS 21.160(1)(c)
15         vs.
                                                        Amount in Controversy:
16                                                      $166,000.00
   CHRISTOPHER SPOTO, an individual; DAVID
17 SMILEY, P.C., an Oregon professional         CLAIM NOT SUBJECT TO
   corporation; DAVID SMILEY, an individual;    MANDATORY ARBITRATION
18 and STORM 3 LLC, an Oregon limited liability
   company,
19
                 Defendants.
20        vs.
21
   FARMINGTON INDUSTRIES, LLC, an Oregon
22 limited liability company,

23                Nominal Defendants.

24   Plaintiffs allege against Defendants as follows:
25   ///
26   ///
     Page 1 – COMPLAINT                                                            EMERGE LAW GROUP
                                                                              805 SW Broadway, Suite 2400
                                                                                       Portland, OR 97205
                                                                                           (503) 227-4525

                                                                            EXHIBIT 1, Page 1 of 91
                          Case 17-03097-tmb        Doc 1         Filed 08/11/17
 1                               SUMMARY OF THE ACTION

 2          Plaintiffs bring this action derivatively, on behalf of Farmington Industries, LLC

 3   (the “Company”) and on their own behalf as members of Company (“Members”), against

 4   Defendant Christopher Spoto for damages and other relief due to his breaches of

 5   fiduciary duty and other misconduct while acting as Manager of the Company. Plaintiffs

 6   additionally seek damages and relief against other Defendants in this action.

 7                                             PARTIES

 8   1.     At all relevant times, Plaintiff Jennifer Andlovec has been an individual residing

 9   in Seattle, Washington.

10   2.     At all relevant times, Plaintiff Shamus Ryan has been an individual residing in

11   Seattle, Washington.

12   3.     At all relevant times, Plaintiff Hiromi Heider has been an individual residing in

13   Seattle, Washington.

14   4.     At all relevant times, Plaintiff Julia Rae Sanderson has been an individual residing

15   in Tonasket, Washington.

16   5.     At all relevant times, Plaintiffs Gary and Nancy Lazarus, in their capacity as

17   Trustees of the Edwards Lazarus Family Trust Dated 1994, have resided in Bellingham,

18   Washington.

19   6.     At all relevant times, Plaintiffs Nathan and Kiley Lazarus have been a married

20   couple residing in Seattle, Washington.

21   7.     At all relevant times, Plaintiff Philip Jones has been an individual residing in

22   Seattle, Washington.

23   8.     At all relevant times, Plaintiff Richard Brown Dewitt has been an individual

24   residing in Santa Cruz, California.

25   9.     At all relevant times, Plaintiff Harold Robinson has been an individual residing in

26   Huntsville, Alabama.

     Page 2 – COMPLAINT                                                         EMERGE LAW GROUP
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                                                                      EXHIBIT 1, Page 2 of 91
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 1   10.       Upon information and belief, at all relevant times, Defendant Christopher Spoto

 2   (“Spoto”) has been a resident of Oregon, residing in the City of Bend and County of

 3   Deschutes.

 4   11.       Nominal Defendant Farmington Industries LLC (the “Company”) was registered

 5   as an Oregon limited liability company on or about October 9, 2014 with its principal

 6   place of business located in Bend, Oregon.

 7   12.       In this action, Plaintiffs assert claims derivatively on behalf of the Company.

 8   13.       Plaintiffs have not formally demanded that Spoto institute suit against himself,

 9   David Smiley, P.C., David Smiley, or Storm 3 LLC because doing so would be futile.

10   Plaintiffs’ counsel did send more than one e-mail “demanding” that Spoto cease and

11   desist in his efforts to hasten the Company’s demise, all of which were either ignored or

12   met with indignity. Spoto is incapable of making a disinterested decision or voting in a

13   disinterested manner on whether the Company should bring claims against him and

14   others.

15   14.       At all relevant times, Defendant David Smiley, P.C. (“Smiley, P.C.”) has been an

16   Oregon professional corporation with its principal place of business located in Bend,

17   Oregon.

18   15.       At all relevant times, Defendant David Smiley (“Mr. Smiley” and together with

19   Smiley, P.C., “Smiley”) has been a resident of Oregon and a licensed attorney residing in

20   the City of Bend and the County of Deschutes.

21   16.       Defendant Storm 3 LLC (“Storm 3”) was registered as an Oregon limited liability

22   company on or about February 6, 2017, with its mailing address located in Bend, Oregon.

23                                  VENUE AND JURISDICTION

24   17.       Venue is proper pursuant to ORS 14.080 because Deschutes County is the county

25   in which one of the defendants resides at the commencement of the action. Venue is also

26   proper in Deschutes County because, pursuant to Section 13.8 of the Operating

     Page 3 – COMPLAINT                                                            EMERGE LAW GROUP
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                                                                          EXHIBIT 1, Page 3 of 91
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 1   Agreement, which is the subject of this action, any action to enforce the Operating

 2   Agreement or any action based on any right arising out of the Operating Agreement must

 3   be brought in Deschutes County.

 4                                             FACTS

 5   18.    In or around January 2015, Spoto approached Jeffrey Callahan (“Callahan”) in

 6   Callahan’s capacity as a producer of medical marijuana in Washington State.

 7   19.    In or around January 2015, Spoto visited Callahan’s production facility in Seattle

 8   and took photos.

 9   20.    Spoto had identified real property located at 63075 Plateau Drive, Bend, Oregon

10   97701 and more fully described as: Lot 39, North Brinson Business Park Phase II,

11   Deschutes County, Oregon (the “Premises”).

12   21.    Spoto stated he had determined that the Premises would be suitable for a cannabis

13   production facility.

14   22.    After Spoto’s visit to Callahan’s production facility, Spoto proposed a partnership

15   to Callahan.

16   23.    Callahan and Spoto agreed to form an equal partnership where they would each

17   hold a 50% interest in any business they formed to participate in the Oregon cannabis

18   industry.

19   24.    Callahan and Spoto agreed to start a cannabis production facility together, to

20   focus initially on the cultivation of medical marijuana.

21   25.    They decided to use the name “Farmington Industries, LLC,” which Spoto had

22   previously registered with the Oregon Secretary of State.

23   26.    Pursuant to the terms of their agreement, Callahan would contribute $100,000.00

24   to the Company, along with his cannabis industry experience and proprietary plant

25   genetics and Spoto would contribute $18,000.00 and secure the Premises.

26   27.    Consistent with the parties’ agreement, Callahan did, in fact, contribute

     Page 4 – COMPLAINT                                                        EMERGE LAW GROUP
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                                                                       EXHIBIT 1, Page 4 of 91
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 1   $100,000.00 to the Company, along with his industry experience and plant genetics.

 2   28.    Spoto contributed $18,000.00 to the Company and secured the Premises for the

 3   Company to lease.

 4   29.    On or about June 1, 2015, the Company signed a 5-year commercial lease (the

 5   “Lease”) for the Premises to construct and then operate a marijuana production facility.

 6   30.    The monthly rent under the Lease was $5,500.00.

 7   31.    Pursuant to the Lease, the Company paid a $15,000.00 security deposit to

 8   Landlord.

 9   32.    Spoto personally guaranteed the Lease (the “Personal Guaranty”).

10   33.    Pursuant to the Lease, the Company was responsible for all improvements to the

11   Premises required for the permitted use as a marijuana production facility.

12   34.    The Company was required, by applicable laws, regulations, and codes, to make

13   significant improvements in order to use the Premises for marijuana production.

14   35.    Beginning in or around June 1, 2015, the Company made significant

15   improvements to the Premises, in an amount believed to be not less than $250,000.00.

16   36.    As the Company’s costs increased, the Company shifted its business strategy in

17   early 2016 to focus on raising capital from outside investors for the purpose of obtaining

18   a license to produce recreational marijuana.

19   37.    In or around the spring of 2016, the Company, through the personal efforts of

20   both Callahan and Spoto, hired Smiley for business advice and to draft legal documents

21   for the Company.

22   38.    Among the documents Smiley was hired to draft were documents that would

23   enable the Company to raise additional capital for the Company from outside investors.

24   39.    Callahan, Spoto, and Smiley did not include Callahan’s name in the Company

25   documents, despite the fact that Callahan had a “financial interest” in the Company as

26   that term is used in OAR 845-025-1000, based if nothing else on his contribution of

     Page 5 – COMPLAINT                                                         EMERGE LAW GROUP
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                                                                       EXHIBIT 1, Page 5 of 91
                          Case 17-03097-tmb         Doc 1   Filed 08/11/17
 1   money and his expectation of owning an equal share of the Company with Spoto.

 2   40.    Based on Smiley’s discussions with Callahan and Spoto, Smiley recommended

 3   that the membership interests in the Company be placed not in the names of Spoto,

 4   Callahan, and any other investors that might join the Company but into two trusts, to be

 5   drafted and formed by Smiley, with Spoto as the sole trustee.

 6   41.    Smiley drafted an operating agreement for the Company dated April 29, 2016,

 7   whereby 100% of the membership interests in the Company were to be held by the Trusts

 8   (as defined below) a copy of which he sent to Spoto and Callahan that same day (the

 9   “Operating Agreement”) in an e-mail (the “4/29 E-mail”). Attached hereto as Exhibit 1

10   and incorporated herein by reference is a true and correct copy of the Operating

11   Agreement.

12   42.    Pursuant to the Operating Agreement, the Chris Spoto Revocable Trust (“Spoto

13   Trust”) owned 80% of the Company.

14   43.    Pursuant to the Operating Agreement, Farmington Industries Trust (“Farmington

15   Trust” and together with the Spoto Trust, the “Trusts”) owned the remaining 20% interest

16   in the Company, which would be held for future investors.

17   44.    According to Smiley, because the Trusts incorporated Spoto’s name and the name

18   of the Company, which was already registered with the Oregon Secretary of State, the

19   names of the Trusts would not need to be registered with the Secretary of State.

20   45.    In the 4/29 E-mail to Callahan and Spoto, Smiley represented as follows:

21              a. Smiley would send Spoto and Callahan the trust instruments by the next

22                  day;

23              b. Spoto and Callahan would both be settlors of the Trusts;

24              c. Spoto would be trustee of the Trusts; and

25              d. Callahan would be successor trustee of the Trusts.

26   Attached hereto as Exhibit 2 and incorporated herein by reference is a true and correct

     Page 6 – COMPLAINT                                                        EMERGE LAW GROUP
                                                                          805 SW Broadway, Suite 2400
                                                                                   Portland, OR 97205
                                                                                       (503) 227-4525

                                                                      EXHIBIT 1, Page 6 of 91
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 1   copy of the 4/29 E-mail.

 2   46.    According to Smiley, Callahan and Spoto would each own a 50% interest in the

 3   Spoto Trust, which owned 80% of the Company.

 4   47.    Pursuant to Section 5.2 of the Operating Agreement, at all relevant times, Spoto

 5   was the sole Manager of the Company.

 6   48.    Pursuant to Section 5.10 of the Operating Agreement, at all relevant times, Spoto

 7   owed the Company and the Members the fiduciary duties of care and loyalty.

 8   49.    Pursuant to Section 5.10 of the Operating Agreement, entitled “Fiduciary Duties

 9   of Managers,” at all relevant times, Spoto was required to discharge his duties of care and

10   loyalty consistently with the obligation of good faith and fair dealing.

11   50.    Pursuant to Section 5.10.1 of the Operating Agreement, at all relevant times,

12   Spoto was required to act in a manner he reasonably believed to be in the Company’s best

13   interest and “use the care that a person in like position would reasonably believe

14   appropriate under the circumstances.”

15   51.    Pursuant to Section 5.10.2 of the Operating Agreement, at all relevant times,

16   Spoto was required to account to the Company and hold as trustee for the Company any

17   profit or benefit derived in conducting or winding up the Company’s business.

18   52.    Pursuant to Section 5.10.3 of the Operating Agreement, at all relevant times,

19   Spoto was required to refrain from dealing with a party with an adverse interest to the

20   Company in conducting or winding up the Company’s business.

21   53.    Pursuant to Section 5.10.4 of the Operating Agreement, at all relevant times,

22   Spoto was required to refrain from competing with the Company in conducting

23   Company’s business prior to the Company’s dissolution.

24   54.    Pursuant to Section 6.2 of the Operating Agreement, at all relevant times, Spoto

25   was required to provide notice of the date, time, and place of all meetings to each

26   member in writing no less than 10 days prior to the meeting.

     Page 7 – COMPLAINT                                                          EMERGE LAW GROUP
                                                                            805 SW Broadway, Suite 2400
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                                                                                         (503) 227-4525

                                                                        EXHIBIT 1, Page 7 of 91
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 1   55.    Pursuant to Section 7.3 of the Operating Agreement, at all relevant times, Spoto

 2   had a duty to ensure that all participants in any telephonic members meeting were able to

 3   hear each other and communicate in real time during the meeting.

 4   56.    Pursuant to Section 13.10 of the Operating Agreement, entitled “Severability,” if

 5   any provision of the Operating Agreement is invalid or unenforceable, the remaining

 6   provisions will be unaffected.

 7   57.    Pursuant to Section 13.12 of the Operating Agreement, the Members and the

 8   Company are entitled to seek injunctive relief and other appropriate and equitable relief.

 9   58.    Pursuant to 13.4 of the Operating Agreement, the prevailing party is entitled to its

10   expenses, including reasonable fees and expenses of attorneys, whether incurred at trial

11   or on appeal in any action to interpret or enforce any provision of the Operating

12   Agreement.

13   59.    In addition to the Operating Agreement, Smiley drafted a Membership Tender

14   Agreement and Agreement Adding New Member for the Company (together, the

15   “Investor Agreements”). Attached hereto as Exhibit 3 and incorporated herein by

16   reference are true and correct copies of the Investor Agreements.

17   60.    The Membership Tender Agreement contemplated the addition of multiple new

18   members to the Company with the following language: “[Each time a new member is

19   added the listing should include all prior members].”

20   61.    The Membership Tender Agreement listed the parties as: “The Farmington

21   Industries Trust, by and through its trustee, Chris Spoto (the “tendering member”)” and

22   the Company.

23   62.    Smiley had actual knowledge that Callahan and/or Spoto were giving the Investor

24   Agreements to prospective members of the Company to solicit money in exchange for an

25   interest in the Company.

26   63.    Beginning in the spring of 2016, Callahan spent considerable time seeking new

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 1   investors for the Company.

 2   64.    Callahan contacted friends and family in an effort to raise capital for the

 3   Company.

 4   65.    Callahan presented some potential “friends and family” investors with Smiley’s

 5   corporate documents, including the Operating Agreement and the Investor Agreements,

 6   all of which reference the Trusts.

 7   66.    Over the course of approximately the next six months, the Company raised

 8   approximately $306,000.00 in new capital, including $251,000 raised directly or

 9   indirectly by Callahan.

10   67.    On or about May 5, 2016, Plaintiff Jennifer Andlovec contributed $7,500.00 to

11   the Company in exchange for a 0.25% interest. Plaintiff Jennifer Andlovec signed

12   Smiley’s corporate documents reflecting the existence of the Trusts purportedly putting

13   control of the Company in Spoto’s hands exclusively.

14   68.    On or about May 5, 2016, Plaintiff Shamus Ryan contributed $7,500.00 to the

15   Company in exchange for a 0.25% interest. Plaintiff Shamus Ryan signed Smiley’s

16   corporate documents reflecting the existence of the Trusts purportedly putting control of

17   the Company in Spoto’s hands exclusively.

18   69.    On or about May 31, 2016, Plaintiffs Nathan and Kiley Lazarus contributed

19   $16,000.00 to the Company in exchange for a .5333% interest. Plaintiffs Nathan and

20   Kiley Lazarus signed Smiley’s corporate documents reflecting the existence of the Trusts

21   purportedly putting control of the Company in Spoto’s hands exclusively.

22   70.    On or about June 3, 2016, Plaintiff Philip Jones contributed $30,000.00 to the

23   Company in exchange for a 1% interest. Plaintiff Philip Jones signed Smiley’s corporate

24   documents reflecting the existence of the Trusts purportedly putting control of the

25   Company in Spoto’s hands exclusively.

26   71.    On or about June 28, 2016, Plaintiffs Gary and Nancy Lazarus, in their capacity

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 1   as Trustees of the Edwards Lazarus Family Trust Dated 1994, contributed $30,000.00 to

 2   the Company in exchange for a 1% interest. Plaintiffs Gary and Nancy Lazarus, in their

 3   capacity as Trustees of the Edwards Lazarus Family Trust Dated 1994, signed Smiley’s

 4   corporate documents reflecting the existence of the Trusts purportedly putting control of

 5   the Company in Spoto’s hands exclusively.

 6   72.    On or about July 14, 2016, Plaintiff Julia Rae Sanderson contributed $30,000.00

 7   to the Company in exchange for a 1% interest. Plaintiff Julia Rae Sanderson signed

 8   Smiley’s corporate documents reflecting the existence of the Trusts purportedly putting

 9   control of the Company in Spoto’s hands exclusively.

10   73.    On or about July 19, 2016, Plaintiff Hiromi Heider contributed $30,000.00 to the

11   Company in exchange for a 1% interest. Plaintiff Hiromi Heider signed Smiley’s

12   corporate documents reflecting the existence of the Trusts purportedly putting control of

13   the Company in Spoto’s hands exclusively.

14   74.    On or about September 2, 2016, Plaintiff Richard Brown DeWitt contributed

15   $10,000.00 to the Company in exchange for a .3333% interest. Plaintiff Richard Brown

16   DeWitt signed Smiley’s corporate documents reflecting the existence of the Trusts

17   purportedly putting control of the Company in Spoto’s hands exclusively.

18   75.    On or about September 20, 2016, Plaintiff Harold Robinson contributed $5,000.00

19   to the Company in exchange for a .16667% interest. Plaintiff Harold Robinson signed

20   Smiley’s corporate documents reflecting the existence of the Trusts purportedly putting

21   control of the Company in Spoto’s hands exclusively.

22   76.    Plaintiffs have contributed a total of $166,000.00 to the Company in exchange for

23   an interest of approximately 5.533% in the Company.

24   77.    Plaintiffs’ contributions to the Company were based on a stated valuation of the

25   Company between $2,970,000.00 and $3,000,000.00.

26   78.    In or around November of 2016, Spoto and Callahan communicated with Kevin

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 1   Kahmann (“Kahmann”) about Kahmann’s potential investment in the Company.

 2   79.    Upon information and belief, Kahmann’s hometown is Minnesota, and he is

 3   engaged in an employment relationship with Spoto’s wife.

 4   80.    Upon information and belief, in or around November of 2016, Kahmann loaned

 5   Spoto’s family $15,000.00 (the “Loan”) when Spoto was struggling.

 6   81.    On or about November 27, 2016, Spoto, on behalf of himself and Callahan, wrote

 7   to Kahmann via e-mail with three proposed financing scenarios for the Company (the

 8   “11/27 E-mail”). Attached hereto as Exhibit 4 and incorporated herein by reference is a

 9   true and correct copy of the 11/27 E-mail.

10   82.    In the 11/27 E-mail, Spoto advocated for what he termed the Company’s

11   “strongest option,” i.e., raise $195,000 and build two flower rooms (“Spoto’s Strongest

12   Option”).

13   83.    In response, Kahmann proposed the following offer (the “Kahmann Offer”):

14               a. Kahmann would raise $300,000.00 of capital to sell 10% of the Company

15                  to other investors he claimed to know; and

16               b. Kahmann would contribute $120,000.00 himself, which would include the

17                  Loan to Spoto’s family, in exchange for a 15% interest in the Company.

18   84.    Callahan objected to the Kahmann Offer on behalf of the Members because it was

19   based on a substantially reduced valuation of the Company and benefited Kahmann at the

20   expense of the Members, to whom Spoto owed fiduciary duties.

21   85.    Callahan expressed additional concerns to Spoto regarding Kahmann for the

22   following non-exhaustive list of reasons: (a) Kahmann’s business had filed for

23   bankruptcy in 2008 in Minnesota; (b) Kahmann had a recent $51,000.00 judgment

24   entered against him in Oregon; and (c) Kahmann had recently defaulted on a credit card.

25   86.    Upon information and belief, Spoto was aware of Kahmann’s troubled financial

26   history.

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 1   87.    Spoto rejected Callahan’s concerns regarding Kahmann’s background and the

 2   inequity that would befall the Members and advocated intently for the Kahmann Offer.

 3   88.    On or about December 25, 2016, Callahan proposed funding the Company with a

 4   firm commitment of $180,000.00, in addition to a commitment to raise more capital,

 5   consistent with Spoto’s Strongest Option (the “Callahan Offer”).

 6   89.    In addition to the Callahan Offer, Callahan proposed various solutions to the

 7   increasingly frayed tensions between Spoto, on the one hand, and Callahan and the

 8   Members, on the other, including a buyout offer for Spoto and an offer to attend

 9   mediation, both of which Spoto rejected.

10   90.    On or about December 30, 2016, Callahan, in his capacity as the holder of a

11   purported 40% beneficial ownership interest in the Company, wrote to Smiley via e-mail

12   to express concerns about the state of the Company. Smiley did not respond to Callahan.

13   91.    Despite a request to do so by Callahan, Spoto refused to present the Kahmann

14   Offer to Plaintiffs to consider and vote on it.

15   92.    Spoto refused to give Plaintiffs the opportunity to invest in the Company using

16   the same valuation upon which the Kahmann Offer was based.

17   93.    From around November 2016 through February 2017, Spoto repeatedly told

18   Callahan that he had concerns about the security of his wife’s job.

19   94.    In or around late January 2017, 120 out of 140 of the Company’s most valuable

20   plants or “mother plants” were allegedly stolen from the Premises (the “Alleged Theft”).

21   95.    Upon information and belief, although the police were called, the City of Bend

22   Police Department found no evidence of a crime on the Premises.

23   96.    Upon information and belief, around the time of the Alleged Theft, a vehicle and

24   a trailer with Minnesota license plates were parked on or around the Premises.

25   97.    Following the Alleged Theft, Callahan offered to and was ready, willing, and able

26   to replace the allegedly stolen plants.

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 1   98.    Spoto did not accept Callahan’s offer to replace the plants taken during the

 2   Alleged Theft, stating that the Company now was worthless despite having a lease on a

 3   newly built-out facility and an application on file with the Oregon Liquor Control

 4   Commission (“OLCC”) for a recreational producer’s license.

 5   99.    Landlord and Spoto executed a Lease Termination Agreement (the “Lease

 6   Termination”), dated to be effective on February 1, 2017, whereby the Company’s lease

 7   of the Premises terminated that same day. Upon information and belief, the Lease

 8   Termination was not signed on February 1, but perhaps close to two weeks later.

 9   Attached hereto as Exhibit 5 and incorporated herein by reference is a true and correct

10   copy of the Lease Termination.

11   100.   Upon information and belief, Smiley negotiated the terms of the Lease

12   Termination with counsel for Landlord and personal counsel for Spoto on or about

13   February 13, 2017. Although Smiley had been repeatedly contacted by counsel for

14   Callahan and the Plaintiffs, neither Callahan nor the Plaintiffs was included in any of the

15   deliberations about terminating the Company’s Lease, which is tantamount to giving

16   away all the money invested by Callahan and the Plaintiffs to build the improvements.

17   101.   Upon information and belief, Smiley drafted the Lease Termination.

18   102.   Spoto allegedly told the Landlord of the Premises that the Company was insolvent

19   and could no longer pay rent for the Premises, as stated in the Lease Termination.

20   103.   Pursuant to the Lease Termination, Spoto paid a “termination fee,” consisting

21   only of Landlord’s attorney fees for drafting a new lease.

22   104.   Pursuant to the Lease Termination, Spoto requested that Landlord return the

23   $15,000.00 security deposit paid by the Company to Spoto.

24   105.   Storm 3 executed a commercial lease for the Premises with an effective date of

25   February 1, 2017 (the “Storm 3 Lease”). Attached hereto as Exhibit 6 and incorporated

26   herein by reference is a true and correct copy of the Storm 3 Lease.

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 1   106.    Under the Storm 3 Lease, the rent is $5,665.00 for the first 20 months and

 2   $6,000.00 for the second 20 months of the Lease term.

 3   107.    The Storm 3 Lease was executed by Valerie Kahmann (“Mrs. Kahmann”), who

 4   also executed a personal guaranty.

 5   108.    Upon information and belief, Valerie Kahmann is married to Kevin Kahmann, the

 6   employer of Spoto’s wife.

 7   109.    Upon information and belief, Kevin Kahmann has a financial interest in Storm 3,

 8   along with his wife, the guarantor under the Storm 3 Lease.

 9   110.    The Storm 3 Lease lists only the address of Spoto’s attorney, Jennifer Clifton

10   (“Clifton”), as its business address. It is unclear if Clifton also represents Storm 3 with

11   respect to this matter.

12   111.    Five days after the effective date of the Lease, on or about February 6, 2017,

13   Clifton registered Storm 3 LLC with the Oregon Secretary of State.

14   112.    Clifton is listed as both the organizer and registered agent of Storm 3.

15   113.    Clifton’s address is listed as the mailing address for Storm 3.

16   114.    The filed Articles of Organization for Storm 3 list no member names or addresses

17   other than the name and address of Clifton.

18   115.    Upon information and belief, Spoto has a “financial interest” in Storm 3 LLC

19   under OAR 845-025-1000 and for other purposes as well.

20   116.    On or about February 14, 2017, Spoto sent the Members a Notice of Meeting of

21   the Members of Farmington Industries, LLC, for February 24, 2017 (“Meeting”), in order

22   to attempt to dissolve the Company. Attached hereto as Exhibit 7 and incorporated

23   herein by reference is a true and correct copy of the Notice of Meeting of the Members of

24   Farmington Industries, LLC (the “Dissolution Meeting Notice”).

25   117.    Spoto failed to provide Callahan with a copy of the Dissolution Meeting Notice.

26   118.    Spoto stated in the Dissolution Meeting Notice that he was the holder of 80% of

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 1   the Company.

 2   119.    The Dissolution Meeting Notice references Spoto’s disagreement with “Jeff

 3   Callahan” regarding a “local venture capital group.”

 4   120.    The Dissolution Meeting Notice omits any reference to Callahan having any

 5   interest in the Company.

 6   121.    Members were provided a dial-in number and access code to participate in the

 7   Meeting by telephone if they could not travel to Bend.

 8   122.    As Manager of the Company, Spoto led the Meeting.

 9   123.    During the Meeting, Spoto employed technology to prevent the Members from

10   hearing each other or communicating with each other in real time.

11   124.    Spoto voted to dissolve the Company on February 24, 2017, over the objections

12   on the record of Plaintiffs. Spoto stated that the basis for him being able to carry the vote

13   was his control of 80% of the Company through the Trusts.

14   125.    On or around March 6, 2017, Plaintiffs and Callahan learned, for the first time,

15   that Smiley had never drafted the Trusts and that, if the Trusts ever existed in the first

16   place, there was no clear and convincing evidence as to their actual terms to prevent them

17   from failing for indefiniteness and/or other reasons.

18                                FIRST CLAIM FOR RELIEF
19                                 (Breach of Fiduciary Duty)
                                      (Christopher Spoto)
20

21   126.    Plaintiffs reallege and incorporate by reference paragraphs 1 through 125 as if

22   fully set forth herein.

23   127.    Spoto breached his duties of care and loyalty to the Company and the Members

24   when he zealously advocated for the Kahmann Offer, which was based on an

25   inappropriately reduced valuation of the Company that benefitted Kahmann, his wife’s

26   boss, at the expense of the Members.

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 1   128.    Spoto had a duty to the Company and the Members of the Company to not

 2   advocate for a reduced valuation of the Company and, thus, the Members’ membership

 3   interests.

 4   129.    Spoto breached his duties of care and loyalty to the Company and the Members

 5   when he rejected the Callahan Offer, to the detriment of the Company and its Members.

 6   130.    Spoto breached his duty of loyalty to the Company and the Members when he

 7   rejected Callahan’s offer to continue on with the business of the Company including, but

 8   not limited to, replacing the plants lost in the Alleged Theft.

 9   131.    Spoto breached his duties of care and loyalty by relying on the Alleged Theft as

10   the basis for Spoto’s decision to dissolve the Company.

11   132.    Spoto violated his duties of care and loyalty to the Company and the Members by

12   forcing the Company to breach the Lease and telling the Landlord the Company was

13   “insolvent” so the Lease could be terminated for the benefit of Spoto, Storm 3, and the

14   Kahmanns.

15   133.    Spoto violated his duty of loyalty to the Company and the Members when he

16   terminated the Lease and attempted to secure the return of the Company’s $15,000.00

17   security deposit to Spoto personally, instead of to the Company, when Spoto was

18   required to account to the Company and hold any refunded security deposit as trustee for

19   the Company.

20   134.    Spoto violated his duty of loyalty to the Company and the Members when he

21   terminated the Lease and, acting in his own self-interest and to the detriment of the

22   Company and the Members, negotiated a release from his Personal Guaranty.

23   135.    Spoto violated his duty of loyalty to the Company and the Members when he

24   negotiated the Lease Termination for the Company simultaneously with the execution of

25   the Storm 3 Lease because Spoto was required to refrain from competing with the

26   Company in conducting Company’s business prior to the Company’s dissolution.

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 1   136.    Spoto violated his duty of care and loyalty to the Company and the Members

 2   when he voted to dissolve the Company on February 24, 2017.

 3   137.    Spoto’s breaches of his fiduciary duties of care and loyalty to the Company and

 4   the Members caused the Company to be unable to satisfy its financial obligations

 5   including, but not limited to, the Lease and the OLCC licensing process.

 6   138.    Spoto’s breach of his fiduciary duty as alleged above has caused the Company

 7   and the Members damages in an amount, reflected by, at a minimum, their actual, out-of-

 8   pocket investments of money in the Company, currently believed to be not less than

 9   $181,000.00, to be proven with further specificity at trial and subject to interest at the

10   statutory rate of 9.00% per annum.

11   139.    Pursuant to Section 13.4 of the Operating Agreement, the prevailing party is

12   entitled to its expenses, including reasonable attorney’s fees and expenses, whether

13   incurred at trial or on appeal in any action to interpret or enforce any provision of the

14   Operating Agreement.

15                              SECOND CLAIM FOR RELIEF
16                                  (Breach of Contract)
                                    (Christopher Spoto)
17
     140.    Plaintiffs reallege and incorporate by reference paragraphs 1 through 139 as if
18
     fully set forth herein.
19
     141.    Spoto willfully and materially breached Section 6.2 of the Operating Agreement
20
     when he failed to provide notice to Callahan, a member of the Company, of the Meeting
21
     at which Spoto moved to dissolve the Company.
22
     142.    Spoto willfully and materially breached Section 7.3 of the Operating Agreement
23
     on February 24, 2017 when he employed technological measures to prevent Members
24
     from hearing each other and communicating in real time during the Meeting.
25
     143.    Spoto’s breach of the Operating Agreement, the non-severed clauses of which are
26
     a contract that can be enforced against Spoto, caused the Company and the Plaintiffs to
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 1   sustain damages.

 2   144.    Pursuant to Section 13.4 of the Operating Agreement, the prevailing party is

 3   entitled to its expenses, including reasonable attorney’s fees and expenses, whether

 4   incurred at trial or on appeal in any action to interpret or enforce any provision of the

 5   Operating Agreement.

 6                               THIRD CLAIM FOR RELIEF
                         (ORS 28.010 et seq. – Declaratory Judgments Act)
 7
                                       (Christopher Spoto)
 8   145.    Plaintiffs reallege and incorporate by reference paragraphs 1 through 144 as if
 9   fully set forth herein.
10   146.    Pursuant to ORS 28.010, the Court shall have power to declare rights, status, and
11   other legal relations, whether or not further relief is or could be claimed. The declaration
12   may be either affirmative or negative in form and effect, and such declarations shall have
13   the force and effect of a judgment.
14   147.    On February 24, 2017, Spoto held the Meeting in violation of the terms of the
15   Operating Agreement when he failed to notice all of the true members of the Company
16   and when he prevented the Members in attendance from hearing each other or
17   communicating in real time.
18   148.    During the Meeting, Spoto moved to dissolve the Company and purported to vote
19   an 80% interest in the Company, in stated reliance on the Trusts.
20   149.    Plaintiffs seek a decree from this Court that the February 24, 2017 vote to
21   dissolve the Company was void and of no legal force or effect.
22   150.    Pursuant to Section 13.10 of the Operating Agreement, Plaintiffs additionally seek
23   a decree that Section 2 of the Operating Agreement is void and shall be severed from the
24   Operating Agreement because the Trusts referenced in Section 2 do not exist (and even if
25   they do, no one knows their material terms so they should fail anyway). The fraudulent
26   provisions of the Operating Agreement should be severed, and Plaintiffs should be
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 1   entitled to the benefit of their bargain to the extent possible. As such, Section 2 should be

 2   replaced with a provision simply stating that Spoto and Callahan each own 40% of the

 3   Company and the each of the Plaintiffs has an interest corresponding to his or her pro rata

 4   contribution to the Company as alleged above.

 5   151.    Pursuant to Section 13.4 of the Operating Agreement, the prevailing party is

 6   entitled to its expenses, including reasonable attorney’s fees and expenses, whether

 7   incurred at trial or on appeal in any action to interpret or enforce any provision of the

 8   Operating Agreement.

 9                              FOURTH CLAIM FOR RELIEF
                      (Avoidance of Fraudulent Transfer under ORS Ch. 95)
10                             (Christopher Spoto; Storm 3 LLC)
11   152.    Plaintiffs reallege and incorporate by reference paragraphs 1 through 151 as if
12   fully set forth herein.
13   153.    Upon information and belief, Kahmann in engaged in some sort of employment
14   relationship with Spoto’s wife.
15   154.    Kahmann knew from previous communications with the Company that the
16   Company needed money.
17   155.    Upon information and belief, Kahmann loaned Spoto’s family $15,000.00 in or
18   around November 2016.
19   156.    Kahmann had actual knowledge about the Company’s extensive and costly
20   improvements to the Premises, paid for with Plaintiffs’ money.
21   157.    The Lease Termination and the Storm 3 Lease are both dated February 1, 2017,
22   though neither is believed to have actually been signed that day.
23   158.    Spoto received a fraudulent transfer when he effectuated the Lease Termination
24   and received, in exchange, a release from his Personal Guaranty from Landlord.
25   159.    The Company did not receive anything of value in exchange for Spoto being
26   released from the Personal Guaranty making it a transfer for less than reasonably
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 1   equivalent value at a time when the Company was engaged or was about to engage in a

 2   business or a transaction for which the remaining assets of the Company were

 3   unreasonably small in relation to the business or transaction; and/or intended to incur, or

 4   believed or reasonably should have believed that the Company would incur, debts beyond

 5   the Company’s ability to pay as they become due.

 6   160.      Because the Lease Termination was intended to defraud, hinder or delay the

 7   Members, who are creditors under ORS Ch. 95, the Lease Termination and concomitant

 8   release of the Personal Guaranty, is actually fraudulent in addition to constructively

 9   fraudulent.

10   161.      The Lease Termination and Personal Guaranty release are “transfers” under ORS

11   Ch. 95.

12   162.      Spoto is an “insider” under ORS Ch. 95.

13   163.      The Storm 3 Lease is a fraudulent transfer by Storm 3 because Storm 3 received

14   the benefit of the improvements paid for by the Company without the Company receiving

15   any reasonably equivalent value in return at a time when the Company was engaged or

16   was about to engage in a business or a transaction for which the remaining assets of the

17   Company were unreasonably small in relation to the business or transaction; and/or

18   intended to incur, or believed or reasonably should have believed that the Company

19   would incur, debts beyond the Company’s ability to pay as they become due.

20   164.      Storm 3 was an “insider” with respect to the Company.

21   165.      Upon information and belief, the reasonably equivalent value of the Premises far

22   exceeds $5,665.00 per month, given the extensive improvements made by the Company

23   with Plaintiffs’ money.

24   166.      Upon information and belief, the purpose of Spoto terminating the Lease was to:

25                 a. Make the improved Premises available for lease by an entity in which the

26                    Members had no interest;

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 1               b. Induce the Landlord to release Spoto from the Personal Guaranty;

 2               c. Transfer the Premises to Storm 3, an entity registered five days after the

 3                  effective date of the Storm 3 Lease and controlled by Kahmann and

 4                  formed by Clifton, Spoto’s personal attorney; and

 5               d. Benefit himself and his wife personally, to the direct detriment of

 6                  Plaintiffs and Callahan, by getting released from the Personal Guaranty

 7                  (“Personal Guaranty Release”) and orchestrating the usurpation by Storm

 8                  3 of the Company’s improvements and expectancy of an OLCC

 9                  production license.

10   167.   Two weeks after the back-dated Effective Date of the Lease Termination and New

11   Lease, Spoto mailed the Dissolution Meeting Notice to Members (excluding Callahan),

12   explaining that he wished to dissolve the Company at a meeting to be held on February

13   24, 2017.

14   168.   Plaintiffs seek to have this Court adjudge that the Lease Termination, the Personal

15   Guaranty Release, and the Storm 3 Lease (“Transfers”) are fraudulent transfers under

16   ORS Ch. 95 and that one or more of the following remedies are appropriate: (i) avoidance

17   of the transfer or obligation to the extent necessary to satisfy the creditor’s claim; (ii) an

18   attachment or other provisional remedy against the asset transferred or other property of

19   the transferee; (iii) an injunction against further disposition by the debtor or a transferee,

20   or both, of the asset transferred or of other property; (iv) appointment of a receiver to take

21   charge of the asset transferred or of other property of the transferee; and/or (v) any other

22   relief the circumstances may require.

23   169.   Pursuant to Section 13.4 of the Operating Agreement, the prevailing party is

24   entitled to its expenses, including reasonable attorney’s fees and expenses, whether

25   incurred at trial or on appeal in any action to interpret or enforce any provision of the

26   Operating Agreement.

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 1                                FIFTH CLAIM FOR RELIEF
                                     (Expulsion of Member)
 2
                                   (Against Christopher Spoto)
 3
     170.    Plaintiffs reallege and incorporate by reference paragraphs 1 through 169 as if
 4
     fully set forth herein.
 5
     171.    Upon application of any member, the Court may order the expulsion of a member
 6
     of a limited liability company pursuant to ORS 63.209.
 7
     172.    Spoto’s wrongful conduct as alleged above has adversely and materially affected
 8
     the business operation or affairs of the Company by depriving the Company of the benefit
 9
     of its assets and diminishing the Company’s assets.
10
     173.    Spoto has willfully or persistently breached his fiduciary duties owed to the
11
     Company and the Members to the extent that it is not reasonably practicable to carry on
12
     the business or affairs of the Company with Spoto as a Member of the Company.
13
     174.    Because of the foregoing conduct, Spoto should be expelled as a Member from
14
     the Company.
15
     175.    Pursuant to ORS 63.209, distributions, if any, owed to Spoto should be offset by
16
     any damages incurred by the Company and/or Members or amounts already wrongfully
17
     taken by him.
18
     176.    Pursuant to Section 13.4 of the Operating Agreement, the prevailing party is
19
     entitled to its expenses, including reasonable attorney’s fees and expenses, whether
20
     incurred at trial or on appeal in any action to interpret or enforce any provision of the
21
     Operating Agreement.
22

23                                SIXTH CLAIM FOR RELIEF
                                       (Aiding and Abetting)
24                             (David Smiley, P.C. and David Smiley)
25   177.    Plaintiffs reallege and incorporate by reference paragraphs 1 through 176 as if

26   fully set forth herein.
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 1   178.    Upon information and belief, Smiley was aware of and participated in the

 2   breaches of Spoto’s fiduciary duties to the Company and the Members.

 3   179.    Upon information and belief, Smiley aided and abetted Spoto in his breaches of

 4   fiduciary duty to the Company and the Members by:

 5                a. Playing an active role in the dissemination and perpetuation of the myth

 6                   that Smiley had created the Trusts and that the Company was properly

 7                   governed by the Trusts in addition to the Operating Agreement, a myth

 8                   upon which Plaintiffs and Callahan relied to their detriment for the better

 9                   part of a year;

10                b. Playing a material role in devising a strategy whereby the Lease could be

11                   terminated in a way least likely to be susceptible to challenge by the

12                   Members; and

13                c. Drafting documents, purportedly on behalf of the Company, whereby

14                   Spoto was released from his Personal Guaranty and the Company’s

15                   security deposit was returned to Spoto instead of the Company, all to the

16                   detriment of the Company and the Members.

17                             SEVENTH CLAIM FOR RELIEF
                                 (Fraudulent Misrepresentation)
18                  (Christopher Spoto, David Smiley, P.C. and David Smiley)
19   180.    Plaintiffs reallege and incorporate by reference paragraphs 1 through 179 as if
20   fully set forth herein.
21   181.    Smiley made material and false representations to Callahan and the Members
22   when he stated and/or implied that the Trusts existed and that Smiley had drafted the
23   relevant trust instruments.
24   182.    Based on information and belief, Spoto had actual knowledge that the Trusts did
25   not exist.
26   183.    Smiley’s misrepresentations were material because, pursuant to the Operating
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 1   Agreement that he drafted, the Trusts were the sole Members of the Company.

 2   184.    Smiley intended for or should have known that Callahan and the Members would

 3   rely upon his false and material representations.

 4   185.    Smiley drafted the Investor Agreements for the sole purpose of the Company

 5   giving them to investors to solicit money from them to invest in the Company.

 6   186.    The Investor Agreements and the Operating Agreement all referenced the Trusts,

 7   which did not exist and were never created by Smiley but that Smiley pretended existed,

 8   for months and months on end, knowing full well that the Members did not legally have

 9   to be oppressed by the structure of the Trusts since he never formed them.

10   187.    Smiley knew or should have known that material and false representations would

11   be conveyed to third parties and that third parties would be relying upon his material false

12   representations.

13   188.    Callahan was ignorant of the falsity of Smiley’s material misrepresentations, in

14   large part, because neither Smiley nor Spoto would truthfully or cooperatively share

15   information about the Trusts, and, as a result, conveyed Smiley’s material

16   misrepresentations to Plaintiffs.

17   189.    Plaintiffs were ignorant of the falsity of Smiley’s material misrepresentations to

18   Callahan when they considered whether to invest in the Company.

19   190.    Plaintiffs would not have invested in the Company had they known that the

20   material representations of Smiley were false and that the Company had been set up

21   essentially as a ruse for giving Spoto complete control of Plaintiffs’ money.

22   191.    Plaintiffs’ reliance on the false and material representations of Smiley was

23   justified.

24   192.    As the direct and foreseeable result of Smiley’s false and material

25   misrepresentations, Plaintiffs have suffered economic damages in an amount not less than

26   $166,000.00 and to be proven with further specificity at trial.

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 1                                     PRAYER FOR RELIEF

 2            WHEREFORE, Plaintiffs respectfully pray for judgment to be entered granting

 3   them relief as follows:

 4         A. An award of damages against Christopher Spoto in an amount to be proven at

 5            trial, but currently believed to be not less than $181,000.00, subject to interest at

 6            the statutory rate of 9.00% per annum;

 7         B. Pursuant to ORS 28.010, a judgment and decree that Section 2 of the Operating

 8            Agreement is void and shall be severed from the Operating Agreement because

 9            the Trusts referenced in Section 2 were never created and do not exist. As such,

10            Section should be 2 be replaced whereby Spoto and Callahan each own 40% of

11            the Company and each of the Plaintiffs has an interest corresponding to his or her

12            contribution to the Company as alleged above;

13         C. A declaration and judgment that the Termination of Company’s Lease, the

14            Personal Guaranty Release, and the Storm 3 Lease are avoided as fraudulent

15            transfers for the benefit of the Company and the Members;

16         D. A declaration and judgment that the February 24, 2017 vote to dissolve the

17            Company was void;

18         E. Expulsion of Christopher Spoto as a Member of the Company;

19         F. An award of damages against David Smiley, P.C. and David Smiley in an amount

20            to be proven at trial, but currently believed to be not less than $166,000.00,

21            subject to interest at the statutory rate of 9.00% per annum;

22         G. An award of prevailing party fees to Plaintiffs for their reasonable expenses,

23            including attorney’s fees, pursuant to Section 13.4 of the Operating Agreement;

24   ///

25   ///

26   ///

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 1      H. An award of Plaintiffs’ costs and disbursements pursuant to ORCP 68; and

 2      I. Such other and further relief as the court deems just and equitable.

 3

 4   DATED: March 14, 2017.               RESPECTFULLY SUBMITTED,

 5                                        s/ Matthew A. Goldberg_________________
 6                                        Matthew A. Goldberg, OSB 052655
                                          matt@emergelawgroup.com
 7                                        Allison C. Bizzano, OSB 052014
                                          allison@emergelawgroup.com
 8                                        Emerge Law Group
                                          805 SW Broadway, Suite 2400
 9                                        Portland, Oregon 97205
10                                        Tel: (503) 227-4525
                                          Attorneys for Plaintiffs
11
                                          Trial Attorney: Matthew A. Goldberg, OSB 052655
12

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From:               "David W. Smiley" <david@dwsmiley.com>
To:          "chris s." <chris.spoto@gmail.com>
CC:          "Jeff Callahan" <callajd@gmail.com>
Date:        4/29/2016 3:36:48 PM
Subject:     Documents for Your Review and Consideration
Attachments: LLC.02.160429.Farmington LLC - Operating Agreement.APF26.ForExecution.doc
             LLC.03.160429.Membership Tender Agreement.APF53.doc
             LLC.04.160429.Agrmnt Adding New Member.APF55.doc
             Cover Sheet to Business Plan For Consideration.doc

Gentlemen:

          After making the changes Jeff and I discussed, please find the attached documents for your consideration and review.

        I will provide you a copy of the trust either tonight or tomorrow. The trust will have both of you as the Settlors (the persons who set up the trust) and Chris as trustee with Jeff as a
successor trustee.

          I have a very simple single member llc operating agreement for a bookkeeping company if you want it.



David W. Smiley

Attorney at Law
DAVID W. SMILEY, P.C.
168 NW Greenwood Avenue, Bend, Oregon 97703
Office:         (541) 318-1288
Facsimile:       (541) 318-1289

E-mail:          david@dwsmiley.com

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                             MEMEBERSHIP TENDER AGREEMENT


DATE:           ____________________________

PARTIES:        The Farmington Industries Trust, by and through its trustee, Chris Spoto (the “tendering
                member”)

                Farmington Industries, LLC, a limited liability company created under the laws of state
                of Oregon (the “company”)


                                              RECITALS:

A.      The tendering member is a member of the company. The company operates under an Operating
        Agreement dated April 28, 2016 (the “operating agreement”). The tendering member is granted a
        specific right under section 2.3.2 of the operating agreement to tender interests back to the
        company from time to time requiring only the approval of the managers.

B.      The tendering member is the owner of a[n]        20%        percent interest in the profits and
        losses of the company and of a capital account representing       100%          percent of the
        capital of the company.

C.      Pursuant to section 2.3.2 of the operating agreement, the managers of the company may receive
        the tendered interest for no consideration, and simultaneously utilize the membership interest
        contributed by the tendering member for issuing to a new or existing member to obtain additional
        capital contributions, with no consideration being received or enjoyed by the tendering member
        for the membership interests so tendered.

D.      The tendering member is not withdrawing from the company, and, in accordance with the terms
        of the operating agreement, the other members have elected to continue the company and cause
        the company to receive the interest of the tendering member.

                                            AGREEMENTS:

1.      Assignment and Acceptance

        The tendering member assigns and transfers to the company a_______________ percent (___%)
        membership interest in the company, representing ______________ (____%) of the tendering
        member’s interest in the company, including all rights in the profits, losses, and distributions of
        the company and all rights of the capital of the company associated with the membership interest
        tendered to the company by the tendering member. The company accepts the assignment and
        transfer as specified.




1 - Membership Tender Agreement



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2.      No Payment Received for Tender.

        2.1     No Remuneration. The tendering member shall not receive any money or benefit for the
                interest tendered to the company.

        2.2     Tax Treatment. The tendering member interest shall be tender in a manner that has no
                tax effect on either the tender or the receipt of the interest tendered to either the
                tendering members or the company.

3.      Payment of Indebtedness

        All indebtedness due from the tendering member to the company and from the company to the
        tendering member (except for obligations arising out of this agreement) must paid in full at the
        time this agreement is signed.

4.      Representations and Warranties

        4.1     Authority and Binding Effect. The tendering member represents and warrants to the
                company and the other members that the tendering member has full power and authority
                to execute and deliver this agreement and to make the transfer provided in this
                agreement.

        4.2     Ownership of Interest and Right to Transfer. The tendering member represents and
                warrants to the company and the other members that the tendering member is the sole
                owner of the interest in the company being transferred under this agreement, free and
                clear of any and all liens or encumbrances. The tendering member has a good right to
                transfer the interest to the company.

        4.3     Accounting. The tendering member represents and warrants, that the tendering member
                has rendered to the company a full accounting of all things relating to the company for
                the period up to and including the date of this agreement.

5.      Continuation of Company

        The business of the company and the operating agreement will remain in full force and effect
        following the tender and the tender is not otherwise unlawful or prohibited. Following the tender
        of the tendering member’s interest to the company, and the simultaneous issuance to a new
        member of the company, the ownership interests of the other members will be as follows:

[The remainder of this page is intentionally left blank]




2 - Membership Tender Agreement



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                                                                                          Membership
               Name                                         Contribution                   Interest .

                Chris Spoto Revocable Trust,               As reflected in the company      80.0%
                by and through its trustee, Chris Spoto    books and records.
                195 SE 3rd Street,
                Bend, Oregon 97702
                Farmington Industries Trust,               See Exhibit A attached here      20.0%
                by and through its trustee, Chris Spoto    to and made a part hereof.
                195 SE 3rd Street,
                Bend, Oregon 97702
                [Set forth Name of New Member]             [Set for $ amount of capital   [Insert % of
                                                           contribution of new member]    Membership
                                                                                            Interest]




[Each time a new member is added the listing should include all prior members]

6.     Miscellaneous Provisions

       6.1     Binding Effect. The provisions of this agreement are binding upon and will inure to the
               benefit of the heirs, personal representatives, successors, and assigns of the parties.

       6.2     Notice. Any notice, consent, or other communication required or permitted to be given or
               made under this agreement must be in writing and will be deemed to have been
               sufficiently given or made either (a) immediately when sent by facsimile machine to the
               facsimile number noted below, or (b) upon delivery when personally delivered or mailed
               by certified mail, return receipt requested, to the address and attention noted below:

                        Tendering member:                              195 SE 3rd Street, Bend, Oregon 97702

                        Company:                                       195 SE 3rd Street, Bend, Oregon 97702

               Any party may change its facsimile number or address for notices by giving notice of
               such change to the other parties in accordance with this section.

       6.3     Litigation Expense. If any legal proceeding is commenced for the purpose of
               interpreting or enforcing any provision of this agreement, including any proceeding in

3 - Membership Tender Agreement



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                the United States Bankruptcy Court, the prevailing party in such proceeding will be
                entitled to recover a reasonable attorneys’ fee in such proceeding, or any appeal thereof,
                to be set by the court without the necessity of hearing testimony or receiving evidence, in
                addition to the costs and disbursements allowed by law.

        6.4     Governing Law. The validity and interpretation of this agreement will be governed by
                the law of the state of Oregon.

        6.5     Entire Agreement. This agreement constitutes the entire agreement between the parties
                pertaining to its subject matter, and it supersedes all prior and contemporaneous
                agreements, representations, and understandings of the parties. No supplement,
                modification, or amendment of this agreement will be binding unless executed in writing
                by all parties.

        6.7     Authority. Each individual executing this agreement on behalf of a corporation or other
                entity warrants that he or she is authorized to do so and that this agreement constitutes
                the legally binding obligation of the corporation or other entity that the individual
                represents.

Executed as of the first date written above.

TENDERING MEMBER:                                        COMPANY:

FARMINGTON INDUSTRIES TRUST                              FARMINGTON INDUSTRIES, LLC




By:                                                      By:
        Chris Spoto, Trustee                             Name: Chris Spoto
                                                         Its:  Manager




4 - Membership Tender Agreement



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                             AGREEMENT ADDING NEW MEMBER


DATE:          _________________________________[Add Date]

PARTIES:       ___________________________________________[Add Name] (the “new member”)

               Farmington Industries, LLC, a limited liability company created under the laws of the
               state of Oregon (the “company”)


                                              RECITALS:

A.      The new member wishes to acquire an interest as a member of the company.

B.      The company operates under an Operating Agreement dated April 28, 2016 (the “operating
        agreement”), which provides that new members of the company may be admitted with the
        consent of the managers.

                                           AGREEMENTS:

1.      Contribution and Members’ Interests

        1.1    New Member’s Contribution and Interest. The new member agrees to contribute the
               sum of ______________________________________ ($_____________) [add amount]
               to the capital of the company in exchange for an interest as a member of the company.
               The new member’s contribution must be made in cash immediately after all parties sign
               this agreement. By making the contribution, the new member will receive an interest in
               the capital of the company equal to the amount of the contribution and will be entitled to
               _______________________ (____%) percent [add amount] of the profits and interim
               distributions of the company. The new member’s interest in the company will also be
               chargeable with that same percent of the losses of the company.

        1.2    Existing Members’ Interests. The new member agrees that current combined value of
               the existing members’ interests in the company is $_____________________ [This
               amount should be equal to the value of the capital contribution of the company
               multiplied by the percentage interest the new member is receiving]. This value is not
               equal to the current aggregate total of the existing members’ capital accounts that are
               shown on the company’s books and records. In order to insure that the interests of the all
               members in the capital of the company is based on the value of their contributions at the
               date of this agreement, the existing members’ capital accounts will be adjusted to reflect
               the current fair market value of their interest, effective on the date of this agreement. For
               all purposes under the operating agreement, the existing members will, following the
               date of this agreement, be deemed to have made contributions to the capital company in
               an amount equal to the current agreed fair market value of their interests.


1 - Agreement Adding New Member



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      1.3   Effective Date. The new member will be admitted as a member of the company effective
            on this date of this agreement. Unless the date of this agreement is the first day of fiscal
            year of the company, the income or loss of the company for the tax year in which the
            new member is admitted must be allocated between the new member and the existing
            members. This allocation may be made in any manner permitted under IRC §706(d)(1) as
            may be selected by action of the members of the company taken in accordance with the
            operating agreement.

2.    Operating Agreement

      2.1    Amendments to Operating Agreement. Effective on the date of this agreement, the
             operating agreement is amended as follows:

             2.1.1   The operating agreement is amended by adding the new member to the list of
                     members in the parties section.

             2.1.2   The operating agreement is amended by amending section 2.1 as follows:

             By adding a new member as follows:
                                                                                      Membership
             Name and Address                        Contribution                      Interest__

             ___________________________
                           f                        $_____________________             ___.0%
             [New Member Name]                      [Set forth the amount as
                           .                        reflected in the company
             ___________________________
                                                    books and records, now
                                                    adjusted to reflect the capital
             ___________________________            contribution of the new
             [New Member Address]                   member]


             together with a reciprocal reduction in the ownership percentage of the Farmington
             Industries Trust, which is holding the shares that will be tendered to the company to be
             provided to the new member

             2.1.3   The operating agreement is amended by deleting section 2.2 and substituting the
                     following:

                     2.2     Initial Capital Contributions. The initial capital contribution of
                             ________________________________________[new member] has
                             been made to the company in accordance with the terms of an
                             Agreement Adding New Member dated __________________________
                             [use date of this agreement], and the agreed value of the contribution set
                             forth in the preceding subsection is the agreed value set forth in that
                             agreement. The agreement adding new member provides that existing
                             members are deemed to have made capital contributions to the company
                             in the amounts set forth in the preceding subsection, and those amounts
                             include, and are not in addition to, any capital contributions made by the

2 - Agreement Adding New Member



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                             existing members prior to the date of the agreement adding new
                             member. The deemed contributions made by the existing members take
                             the form of interests in the property of the company existing at the date
                             of the agreement adding new member. In accordance with IRC §704(c)
                             and the corresponding regulations, income, gain, loss, and deduction
                             with respect to property of the company existing on the date of the
                             agreement adding new member must be allocated among the members,
                             solely for income tax purposes, so as to take into account any variation
                             between the adjusted basis of the property for federal income tax
                             purposes in the hands of the company and the agreed value of the
                             interests of existing as set forth in the agreement adding new member.

      2.2    Assumption of Obligations. The new member agrees to be bound by all of the terms
             and provisions of the operating agreement, as amended under the terms of this
             agreement.

3.    Consent

      The existing members of the company have consented to the admission of the new member as a
      member of the company pursuant to the powers vested to the managers of the company and have
      agreed that the new member will have all the rights and obligations of a member of the company.
      The existing members also approve and agree to the amendments to the operating agreement
      made under the terms of this agreement.

4.    Representations and Warranties

      The company represents and warrants to the new member that:

      4.1    Status. The company is a limited liability company duly organized, validly existing, and
             in good standing under the laws of the state of Oregon and has all powers required to
             own its assets and property and to carry on its business as now owned and conducted.
             The company is not licensed or qualified as a foreign limited liability company in any
             other state, and such license and qualification are unnecessary given the character of its
             properties and the nature of its business.

      4.2    Operating Agreement. The operating agreement is in full force and effect in accordance
             with its terms and has not been amended or modified in any manner, except as provided
             in this agreement.

      4.3    Assets. The company has good and marketable title to all of its assets, including all
             property reflected in the company’s financial statements, free and clear of all claims and
             encumbrances, except any liens for taxes not yet due and payable. The company either
             owns or leases from persons other than members of the company all of the assets related
             to or used in the conduct of its business, and those assets are adequate for the conduct of
             such business.


3 - Agreement Adding New Member



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      4.4    Compliance with Law. The company is not in violation of any applicable law,
             ordinance, regulation, order, or requirement relating to its operations.

      4.5    Actions and Suits. There are no actions, suits, or proceedings pending or threatened
             against or affecting the company at law or in equity or before or by any federal, state,
             municipal, or other governmental or nongovernmental department, commission, board,
             bureau, agency, or instrumentality that can reasonably be expected to result in any
             adverse change in the business, properties, operations, prospects, or assets of the
             company or in its condition, financial or otherwise.

      4.6    Obligations and Contracts. The company is not in default in the payment of any of its
             obligations and is not in breach of the performance of any contract to which it is a party.

      4.7    Complete Disclosures. Neither this agreement nor any document furnished to the new
             member by the company under this agreement contains any untrue statement of a
             material fact or omits to state a material fact necessary in order to make any statement in
             this agreement or in such documents or instruments not misleading.

5.    Securities Laws

      5.1    Investment Intent. The new member represents and warrants to the company and the
             existing members that the new member is acquiring an interest as a member of the
             company for investment and not with a view to distribution.

      5.2    Securities Law Registration. The new member understands that the members’ interests
             in the company have not been registered under the Securities Act of 1933 or applicable
             state securities laws in reliance upon exemptions from registration. The new member
             also understands that the interest being acquired must be held indefinitely, unless it is
             later registered under the Securities Act of 1933 and applicable state securities laws, or
             unless exemptions from registration are otherwise available, and that the company has no
             obligation to register the interest. The new member agrees that the interest will not be
             offered, sold, transferred, pledged, or otherwise disposed of without registration under
             the Securities Act of 1933 and applicable state securities laws or an opinion of counsel
             acceptable to the company that such registration is not required.

6.    Miscellaneous Provisions

      6.1    Litigation Expense. If any legal proceeding is commenced for the purpose of
             interpreting or enforcing any provision of this agreement, including any proceeding in
             the United States Bankruptcy Court, the prevailing party in such proceeding will be
             entitled to recover reasonable attorneys’ fees in such proceeding, or any appeal thereof,
             to be set by the court without the necessity of hearing testimony or receiving evidence, in
             addition to the costs and disbursements allowed by law.

      6.2    Governing Law. The validity and interpretation of his agreement will be governed by
             the law of the state of Oregon.

4 - Agreement Adding New Member



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        6.3     Entire Agreement. This agreement constitutes the entire agreement between the parties
                pertaining to its subject matter, and it supersedes all prior and contemporaneous
                agreements, representations, and understandings of the parties. No supplement,
                modification, or amendment of this agreement will be binding unless executed in writing
                by all parties.

        6.4     Authority. Each individual executing this agreement on behalf of a limited liability
                company warrants that he or she is authorized to do so and that this agreement will
                constitute the legally binding obligation of the limited liability company that the
                individual represents.

        6.5     Counterparts. This Agreement may be executed in counterparts, each of which will be
                considered an original and all of which together will constitute one and the same
                agreement.

        6.6     Facsimile and Electronic Signatures. Facsimile transmission or electronic transmission
                of any signed original document, and retransmission of any signed facsimile transmission
                or electronic transmission, will be the same as delivery of an original. At the request of
                any party, the parties will confirm facsimile transmitted signatures and electronically
                transmitted signatures by signing an original document.

        6.7     Further Assurances. Each party agrees to execute and deliver such other documents and
                to do and perform such other acts and things as any other party may reasonably request
                to carry out the intent and accomplish the purposes of this Agreement.

Executed as of the first date written above.

NEW MEMBER:                                             COMPANY:

                                                        FARMINGTON INDUSTRIES, LLC


By: ________________________                            By: ________________________
                                                        Name: Chris Spoto
Name:______________________                             Its:   Manager




5 - Agreement Adding New Member



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From:        "chris s." <chris.spoto@gmail.com>
To:          kevin@caringbrandsint.com
CC:          callajd@gmail.com
Date:        11/27/2016 1:04:08 PM
Subject:     Farmington Industries First Year Budget Analysis
Attachments: BudgetProjectionsYearOne.xlsx


Hi Kevin,



Farmington has reached a point in its development where we must decide on how aggressively to move forward in the development of our core
business. Here we consider three options for moving forward, distinguished chiefly by the scale of the initial buildout and the rate of growth that initial
buildout can drive.



Keep in mind these numbers and timelines are estimates and therefore subject to change. However, we’ve done our best to ground these numbers with
real bids and professional estimates when possible. The snapshot below outlines the three primary options for moving forward; there are other options
including a total buildout and/or outright purchase of the building. We can provide the data for those scenarios on request.




                                                         One Flower Room        Two Flower Rooms       Four Flower Rooms
                                   Initial Build Cost         $109,000               $195,000               $475,000
                                   Monthly Burn          4 at $18,000/month     4 at $23,250/month     4 at $39,350/month
                                   Total Burn To
                                                               $72,000                 $93,000               $157,400
                                   Profit
                                   Peak Debt Burden
                                                              $163,000               $264,750                $593,050
                                   (March)
                                   Profitability Date            April                  May                    May
                                   Facility
                                                              December                 August                  June
                                   Completion
                                   End of Year Cash           $395,950              $1,198,700              $2,334,900

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We believe the middle column is our strongest option. A marginal increased debt burden of approximately $100,000 introduces no delay to reach
profitability while increasing the net end of year cash by approximately $800,000 and advancing facility completion from December to August. Further,
no additional labor would be required to manage this increase in capacity.



On the other hand, jumping from the middle column to far right column, while justified by the profit, might not be justified by the increased debt burden of
more than $300,000 in addition to the increased labor immediately required to manage this production capacity. This choice would also only advance
facility completion from August to June without advancing the date at which we cross into profitability.



To be clear, we are prepared to move forward with any of these scenarios but we believe the scenario described in the middle column best balances the
overall risk with the demands on the company, the debt burden, and the pace of scaling up. If we find that we are prepared to accelerate the final buildout
during execution, we can always address that when the time comes.



Thanks for reviewing this information, please let us know any questions you may have.



Chris & Jeff

Co-founders

Farmington Industries




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February 24th, 2017
Member Name
Member Address


NOTICE OF MEETING OF THE MEMBERS OF FARMINGTON INDUSTRIES, LLC

DATE OF THE MEETING:                         FEBRUARY 24th, 2017

TIME OF THE MEETING:                         11:30 AM PST

PLACE OF THE MEETING:                        DESCHUTES COUNTY LIBRARY
                                             601 NW WALL ST.
                                             BEND, OR 97701
                                             BROOKS CONFERENCE ROOM

TELEPHONE CONFERENCE
CALL IN INSTRUCTIONS:                        DIAL IN NUMBER:               515-604-9300
                                             ACCESS CODE:                  702508

PURPOSES OF THE MEETING:                     DISSOLUTION OF THE COMPANY

TO ALL THE MEMBERS:

I am Chris Spoto, the manager of Farmington Industries, LLC, an Oregon limited liability
company (“Farmington”). First, I want to make sure your current name, address and social
security number is on file for tax purposes. Please provide the following information to
farmington.industries@outlook.com at your earliest convenience.

Member Name
Member Address
Member SSN

As the Manager of Farmington Industries, LLC, and the holder of Eighty Percent (80%) of the
ownership interest in the LLC, I hereby call a meeting of the Members pursuant to Section 6 of
the Farmington Operating Agreement, dated April 29, 2016 (“Operating Agreement”).

Section 6.2 of the Operating Agreement provides that the Notice of the Meeting must provide the
date, time and place of the meeting of the Members to be called in writing at least ten days prior
to the meeting date. The Notice must include a description of the purpose or purposes for which
the meeting is called. The Notice must be mailed to each Member at the address of record
(which is the address provided by the Member under the Notice provision in the Agreement
Adding the Member).

Section 6.3 states that the Members entitled to Notice of the Meeting of Members and to vote at
the Meeting must be determined as of the Record Date of the Meeting. The Record Date of

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Meeting may not be less than 10 (nor more than 70) days prior to the meeting. I hereby state
the Record Date in Section 6.3 of the Operating Agreement shall be February 14th, 2017
(“Record Date”). All Members of record as of February 14th, 2017 are entitled to Notice of the
Meeting and may vote on matters set for the meeting in this Notice.

Farmington has mailed out this Notice which includes all the provisions of Section 6.2 to each of
the Members of record on the Record Date.

Set forth below is a summary of the events leading up to the Meeting and the purpose of the
Meeting.


Background Information

After Farmington began construction of its first two 1,000 square foot flower rooms and installed
rough electrical, Farmington came up against a capital crunch at the end of 2016.

As the Manager, I immediately executed an intense search for capital funding. The search for
capital funding at this time was challenging given the changing and uncertain political climate,
the competition that has entered the market, and Farmington’s current financial condition.
Hence, I felt very fortunate to locate a local venture capital group (“VC Group”) who was
willing to completely fund the remaining build out and furnish the equipment for the two flower
rooms that would have enabled Farmington to begin harvesting and complete the build out of the
facility.

Jeff Callahan vehemently objected to me taking this action and wanted Farmington to take on a a
series of loans with undefined terms in lieu of bringing on the VC Group. After much
deliberation, I decided NOT to bring on the VC Group, but instead to go out and raise additional
capital under the same terms and conditions as the initial offering to the members. I approached
the VC Group and specifically addressed the issues raised by Jeff, and they agreed to introduce
the Company to a number of accredited investors interested in buying into the venture. I
informed Jeff of this decision to move forward with an extension of the then-existing private
equity capital raise.

Unfortunately, a few days later, while I was in Portland for work, someone stole and destroyed
all of Farmington’s mother plant stock. 120 of 140 plants were destroyed and/or stolen.
Notably, whoever destroyed and stole the plants presumably had access to the building as there
was no evidence of a forced entry. They also had specific knowledge of the plant stock in light
of the strategic extraction of only certain plants. The female plants left behind were of legacy
stock considered to be of no value, and hard-to-identify male plants deliberately left behind
pollinated the remainder of the garden. This basically gutted the entire business operations and
destroyed any and all future profits. Significant financial resources had been dedicated to the
fostering of this mother plant stock, and without it Farmington had no products to grow. As a
result of the theft, the investors got spooked and walked away from the deal. This essentially
destroyed Farmington and any future it may have had. With $140 dollars in the bank, a lease



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payment due and money owed to contractors and other creditors, I was forced to start winding
down the company.

I am confident if the mother plant stock had not been stolen or destroyed, I would have
succeeded in bringing on the outside investors and moving the company forward. After the
company assets were destroyed, the investors’ interest evaporated and the company became
insolvent.

Due to the insolvency, the company was in breach of the lease, and, with no means to service the
lease payment, approached the landlord to address what had previously been an asset, but due to
insolvency and inability to make the lease payment became a liability. The landlord terminated
the lease so a new occupant could take possession of the leased premises and allow Farmington
out from underneath the liability to the landlord for damages and breach of contract. Taking this
step protected the last remaining asset of the company, a patent, whose value is unknown, but
suspected to be approximately $20,000.

Dissolution of Farmington

At the meeting, I will be moving to dissolve the company. I can tell you that this is not a
decision that I came to lightly. I have spent months trying to salvage the company and your
investment, and feel strongly I would have been able to do so if Farmington had not been the
victim of a business crime.

I am very saddened by the events that transpired and the dissolution of Farmington. If you have
any questions, please send them to me at farmington.industries@outlook.com .


Very Truly,




Chris Spoto
Manager




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